
587 S.E.2d 69 (2003)
357 N.C. 468
STATE of North Carolina
v.
Robert Thomas SINES.
No. 322P03.
Supreme Court of North Carolina.
August 21, 2003.
Robert Thomas Sines, Pro Se.
Lisa C. Glover, Assistant Attorney General, Peter S. Gilchrist, III, District Attorney, for State.
Prior report: 158 N.C.App. 79, 579 S.E.2d 895.

ORDER
Upon consideration of the petition filed by Defendant in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 21st day of August 2003."
